Fill in this information to identity your case:

United States Bankruptcy Court for the:

District of New Mexico

Case number (ifknown): Chapter you are filing under:

[/] chapter 7
[| chapter 11

Chapter 12
Chapter 13

Official Form 101

FILED
at BAD __ o’clockTS_ M

DEC 02 2021

United States Bankruptcy Court
Albuquerque, New Mexico

[_Icheck if this is an
amended filing

Voluntary Petition for Individuals Filing for Bankruptcy 04/20

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
Joint case—and in joint cases, these forms use you to ask for Information from both debtors. For example, If a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When Information is needed about the spouses separately, the form uses Debtor ? and
Debtor 2 to distinguish between them. in joint cases, ane of the spouses must report information as Debtor 1 and the other as Debtor 2. The

same person must be Debtor 7 In all of the forms.

Ba as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

Identify Yourself

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
Write the name that is on your Joel
government-issued picture : ;
identification (for example, First name First name
your driver's license or Alan
passport). Middle name Middle name
Bring your picture Gaffney
identification to your meeting Last name Last name
with the trustee.
Suffix (Sr, Jr, 4, 1) Suffix (Sr, Jr, li, Il)

2. All other names you
have used in the last 8
years

Include your married or
maiden names,

3. Only the last 4 digits of

your Social Security

number or federat OR

Individual Taxpayer

Identification number Oxx - x
{ITIN)

mx -xx- f 2 1 0

KUX XX -
OR
Gxx - xx -

Official HMPSOL1-11322-7 Doc IVolyAiracPainge Sfanividuaty tag ia BAsl@tyO9:17:53 Page 1 of Bee
Debtor 4 Jdoal Alan Gatinay

 

Fost Name

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 6 years

Include trade names and
doing business as names

5. Where you live

6. Why you are choosing
this district to file for
bankruptcy

Middie Name

Lact Name

About Debtor 1:

ol have not used any business names or EINs.

Gaffney Law, PC

Case number ( known

About Debtor 2 (Spouse Only In a Joint Case):

[_]| have not used any business names or EINs.

 

Business name

 

Business name

 

Business name

 

Business name

 

 

 

 

XX-XXXXXXX
EIN EIN
BIN EIN

4200 Montgomery Blvd NE Apt 208

li Debtor 2 lives at a diferent address:

 

Number Street

Number Street

 

 

 

 

Albuquerque NM 87709

City State ZIP Code Cily State ZIP Cade
Bernalillo County

County County

it your mailing address Is ditlerent from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

If Debtor 2's mailing address Is different from
yours, fill it in here. Note that the court will send
any notices to this mailing address.

 

Number Street

Number Street

 

 

P.O. Box PO. Box
City State ZIP Code City State ZIP Code
Check one: Check one:

[¥] Over the tast 180 days before filing this petition, |
have lived in this district longer than in any other
district.

Chi have another reason, Explain,

(See 28 U.S.C. § 1408}

[J over the tast 180 days before filing this petition, |
have lived in this district longer than in any other
district.

Ci have another reason. Explain.

(See 28 U.S.C. § 1408.)

Official KgRSH121-11322-7 Doc Wolupie dello oRfatividpaty Biegto BAAMYpItyYOO: 17:53 Page 2 of mBe 2
Joel Alan Gatiney

 

 

 

Debtor 4 Case number ( mown,
Fires Name Middle Name tant Name
Pare 2: | Tell the Court About Your Bankruptcy Case
7. The chapter of the Gheck one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing to file 7
under [YJchapter 7
[Ichapter 11
[}chapter 12
CJchapter 13

8. How you will pay the fee Ch witt pay the entire fee when | file my petition. Please check with the clerk's office in your
tocal court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order, If your attorney is

submitting your payment on your behaif, your attorney may pay with a credit card or check
with a pre-printed address.

Ch need to pay the fee in installments. If you choose this option, sign and attach the
Application for individuals to Pay The Filing Fee in Instalimenis (Official Form 103A).

hh request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition

9. Have you filed for [ho

 

 

 

bankruptcy within the
last B years? Loves, District When Case number
District When Case number
District When Case number
1¢, Are any bankruptcy No

cases pending or being

filed by a spouse who is LV ves.
not filing this case with

you, or by a business

 

 

 

 

partner, or by an Debtor Relationship to you
affiliate? District When Case number, if known
Debtor Relationship to you
District When Case number, if known
11. Do you rent your | _{No. Go to line 12.

residence? Yes. Has your landlord obtained an eviction judgment against you?

[7 ]No. Go to line 12.

[_]yves. Fill out énitial Statement About an Eviction Judgment Against You (Form 101A) and file it with
this bankruptcy petition.

Official GSOL1-11322-7 Doc 1WoluRitePstinge Siawividuaty Etieglice BAQA/BtryO9:17:53 Page 3 of B&e3
Debtor 1

doal Alan Gaffney
First Name Midde Mame Last Name

Case number (7 snow

 

Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor [_]No, Goto Part 4.

13.

of any tuil- or part-time

 

 

 

 

business? yes. Name and location of business

A sole proprietorship is a Joel Gaffney Travel Agent - Not Doing Business

business you operate as an Mecca i

individual, and is not a ame of business, any

separate legal! entity such as 4200 Montgomery Blvd NE

a corporation, partnership, or —

LLC: Number. Street

if you have more than one Apt 208

sole proprietorship, use a Soe

separate sheet and attach it Albuquerque NM 87109
to this petitian. Gly State FIP Code

Check the appropriate box io describe your business:

Cc Health Care Business (as defined in 11 U.S.C. § 101(27A))

oO Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B)}
CO stockbroker (as defined in 11 U.S.C. § 101(53A))

O Commodity Broker (as defined in 11 U.S.C, § 101(6))

None of the above

if you are filing under Chapter 17, the court must know whether you are @ smail business debtor or a debtor

Are you filing under choosing to proceed under Subchapter V so that it can set appropriate deadlines. if you indicate that you
Chapter 11 of the are a sail business debtor or you are choosing to proceed under Subchapter V, you must attach your
Bankruptcy Code and most recent balance sheet, sfatement of operations, cash-flow statement, and federal income tax retum or

are you a small business = if any of these documents do not exist, follow the procedure in 17 U.S.C. § 1716{7)(B).
debtor or a debtor as

f7]No. (am not filing under Chapter 11.
defined by 11 U.S. C. § “a 7

1182(1}? no. ! am filing under Chapter 11, but iam NOT a small business debtor according to the definition in
For a definition of smaif oO the Ba nkruptcy Cade . ,

business debtor, see Yes. | am filing under Chapter 11 and 1am a small business debtor according to the definition in the
11 U.S.C. § 104(51D). Bankruptcy Code, and | do not choose to proceed under Subchapter V of Chapter 11.

O Yes. ] am filing under Chapter 11, | am a debtor according to the definition in § 1182(1} of the
Bankrutpcy Code, and | choose to proceed under Subchatper V of Chapter 11.

 

[eace| Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14.

Do youownorhave any [V7No
property that poses cris  —— ;
alleged to pose a threat | Yes. What is the hazard?
of imminent and
identifiable hazard to
public health or safety?
Or do you own any
property that needs
immediate attention?

For example, do you own
perishable goods, or livestock
that must be fed, or a building
that needs urgent repairs ?

Ifimmediate attention is needed, why is it needed?

Where is the property?

Official SAO 1-11322-7 DOc IWoluitpecPeA6O Blandi viduats Eting|ice BAQA/Btey09:17:53 Page 4 of bee4
Debtor + Joal Alan Gatiney

 

First Neme Middle Name

Explain Your Efforts to Receive a Briefing About Credit Counseling

Last Name

Case number (# kan}

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do so, you are not
eligible to file.

Hf you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you pald, and your creditors
can begin collection activities
again.

About Debtor 1:

You must check ane:
A | received a briefing trom an approved credit

counseling agency within the 186 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

Cc) | received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

CO | certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after ! made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankiuptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you fited for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days afer you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C tam not required to receive a briefing about

credit counseling because of:

Ci Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

oO Disabifity. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

Ol Active duty, | am currently on active military
duty In a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
mation for waiver of credit counseling with the court.

About Debter 2 (Spouse Only in a Joint Case):

You must check one:

TC | received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, and [ received a
certificate of completion.

Altach.a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C) | received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any,

[_] | certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain # before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C | am not required to receive a briefing about

credit counseling because of:

C) Incapacity. | have a menial illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

CT Disability. My physical disability causes me
to be unable to participate ina
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

oO Active duty. | am currently on active military
duty in a military combat zone.

lf you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

OficC@Aoe MW-11322-7 Doc 1 vblieatyFaiOah Pi inditintes ean Q/B2d@ip@y:17:53 Page 5 of Saage 5
Debtor 1 Jcal Alan Gaffney

Case number (# known),

 

First Mame

Last Name

Answer These Questions for Reporting Purposes

 

16. What kind of debts do
you have?

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
ate paid that funds will be
available for distribution
to unsecured creditors?

ie. How many creditors do
you estimate that you

owe?

1s. How much do you
estimate your assets to

be worth?

20. How much do you
estimate your liabilities

to be?

Zio Sign Below

For you

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an Individual primarity for a personal, family, or household purpose.”

[J No. Go to fine 18b.
1 Yes. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to abtain
money for a business or investment or through the operation of the business or investment.

(1 No. Ge to-line 16¢.
Cl Yes. Go to line 17.

16c. State the type of debts you owe that are not consumer debts or business debts.

 

oO No. lam not filing under Chapter 7. Go to tine 18.

V1 Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available {o distribute to unsecured creditors?

No
Ej Yes

711-49 [J 1,000-5,000 [J 25,001-50,000

[_}s0-29 (_] 5,001-10,000 50,001-100,000

E-] 100-199 [_] 10,001-25,000 More than 100,000

[_] 200-999

fy] s0-s50,000 J $1,000,001-$10 million $500,000,001-$1 billion

[_] $50,001-$100,000 [_] $10,000,001-$50 mition $1,000,000,001-$10 billion
[_}$100,001-$500,000 [_] s50,000,001-$100 milion $10,000,000,001-§50 billion
L] $500,001-$1 million | $100,000,001-$500 million CI More than $50 billion

[_] s0-$50,000 H $1,000,001-$10 million [7] s500,000,001-$1 bitlion

[_] $50,001-$100,000 $10,000,001 -$50 million [_] $1,000,000,001-$+0 bition
[] $100,001-$500,000 [_] $10,000,000,001-$50 billion

H $50,000,001-$1400 million

/] $500,001-$1 million $100,000,001-$500 million LJ More than $50 billion

| have examined this petition, and | declare under penalty of perjury that the information provided ts true and
correct.

if | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 14, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

ifno attomey represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

{ request relief in accordance with the chapter of tille 11, United States Code, specified in this petition

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case a result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. 1H 152, 1341, 1 My Mr 3571.

 

xf fe x
DM ignature of Debtor 1 Signature of Debtor 2
Executed on eee Executed on
MM / DD IYYYY MM / DD IYYYY

OGasiH1911322-7 Doc1  Pitemtdr?hegiahtor idiinkemechilrg/O2dzkrOGe1 7:53 Page 6 of 55 pages
Deen doe! Alan Gaffney

Case number (i known

 

Firsl Name Middle Name Last Name

* |, the att
For your attorney, if you are e attorney for the debtor{s)

represented by one

named in this petition, declare that | have informed the debtor(s) about etigibility

to proceed under Chapter 7, 11, 12, or 13 of tite 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)

the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no

lf you are not represented
by an attorney, you do not
need to file this page.

knowledge afer an inquiry that

x

the information in the schedules filed with the petition is incorrect,

 

 

 

 

 

 

 

Date 12/01/2021
Signature of Attorney for Debtor MM / ODD fYYYY
Printed name
Firm name
Number Street
City Stale ZIP Cade
Contact phone Email address
Bar number State

oP Roaaatls22-7 Doc 1 Fede Ral Schor ala seete bark ABS Otas- 7.53 Page 7 of 55 page 7
Debtor 1 Joel Alan Gaffney Case number («now
First Name Midcle Name Last Name

Continuation Sheet for Official Form 101
12) Sole proprietor businesses

American Income Life 4200 Montgomery Blvd NE, None of the above
Insurance Apt 208, Albuquerque, NM
87109

Official FOEGe! 21-11322-7 Doc Yolurtaeeptkian ag Aad vidualm tiing dbiea/G@pry 09:17:53 Page 8 of 55
 

 

pebtor1 Joel Alan Gaffney Case number istnewm,

 

Pir Name Meade Hemet

For you If you are fillng this
bankruptcy without an
attorney

(f you are represented by
an attorney, you do not
heed to file this page.

Official Form 101

Case 21-11322-7

 

The law aflowe you, as an individual, to represent yourself In bankruptcy court, but you
should understand that many people find It extremely difficult to represent
themselves successfully, Because bankruptcy has long-term financial and legal

corisequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happena, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts In the schedules that you are required to file with the
court. Even if you plan fo pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do samathing dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and Imprisoned.

If you dacide to file without an attomey, the court expects you to follow the rules as if you had
hired an attorney. The court will not teat you differendy because you are illng for yourself. To be
successful, you must be familiar with the United States Bankruptoy Code, the Federal Rules of
Sankruptcy Procedure, and the local rules of the court in which your case Js filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

J Ne
Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

CG No

W Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptey fonns?
Zt No
OQ) Yes. Name of Person

Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 149),

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
have read and understood this notice, and | am aware that filing a bankruptcy case without an

attorney may cause me to lose my rights or property if | do not proparly handle the cass.
x Ql, x

 

 

 

 

 

ign#ture of Debtor 4 v Signature of Debtor 2
Data 12/02/2021 Dale
MMiOO FYYYY MMi DO /YYYY

Contect phone (505) 261-7157 Contact phone
Cell phone Call phone

Ernail addreee jool.alan. affine mail.com Email addresa

a
Votuntary Petition for Individuals Fiting for Bankruptcy page 9

Doc1 Filed 12/02/21 Entered 12/02/21 09:17:53 Page 9 of 55
Fill in this information to identify your case:

 

Joel Alan Gaffney

 

 

Bebtor 1

First Name Middle Name LawtName
Debtor 2
(Spouse, It fding) Firt heme Middle Name LastName

United States Bankruptcy Court for the: District of New Mexico

Case number [I] check if this is an
{if known) amended filing

Official. Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information” ~~ 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. Fill out all of your schedules first; then complete the information on this form, If you are filing amended schedules after you fiie
your original fonns, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

 

Your assets
Value of what you own
1, Schedule A/B: Property (Official Form 106A/B}
40. Copy line 55, Total real esate, from SCHECUIE A/B.eccceccsusscenciusnsnesmnsiunnuemmenutsimnmenmenunnne, 9900

1b. Copy line 62, Total personal property, from Schedule A/B.....-cscsesccsrccesssssnerescueesnas rnsseenseens $4,609.07

 

1c Copy line 63, Total of all properly on Schedule A/B....cccccsee ccs ccsecceeenssesecs coeeccenesas snes cpttecaesaneanaa seas aerenneeaseasenaneseee

Summarize Your Liabilities

$4,609.07

 

 

 

Your liabilities

Amount you owe
2 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............. $0.00
3 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) $0.00

3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule EV oo... cecssceerssseesseseeeserensssees

+ $570,014.92

 

 

 

 

 

Your total liabilities $570,014.92
Summarize Your Income and Expenses
4. Schedule t: Your income (Official Form 1061)
Copy your combined monthly income from line 12 of Schedule bao. s eee ceeestes ever soccncaserssrereeecsuseseesssoereereuseeneatnan eaten $1,265.33
5. Schedule J: Your Expenses (Official Form 106.1)
Copy your monthly expenses from line 22c Of SCHEGUE Ue. ceccsecccsseesssessssesesepeesessssssseossisnatssinatssensnnanvesatessveneseusseasucnuse 3866.02

Official F@AYSSN-11322-7 Beunbry oP ipacAssefesypljabiliftes ane rthia Ha saicaNGotwase Page 10 ets 5of2
Joel Gaffney

Debtor 1 Case number (i Anawn),
First Name Midde Hames Last Name

Answer These Questions for Administrative and Statistical Records

 

6 Are you filing for bankruptcy under Chapters 7, 11, or #37
(1) No, You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
Yes

7. What kind of debt do you have?

Your debts are primarily consumer debts. Gonsumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 26 U.S.C. § 159.

QC) Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

8. From the Statement of Your Current Monthly income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 122C-1 Line 14. $ 1,951.17

 

 

 

9. Copy the following special categories of claims from Part 4, fine 6 of Schedule E/F.

 

Total claim
From Part 4 on Schedule E/F, copy the foitowing:
9a. Domestic support obligations (Copy line 6a.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) 5 oe
9c. Claims for death or personal injury while you were intoxicated. (Copy fine Gc.) 5. 0.00
9d. Student loans. (Copy line 6f.) $ 440,601.00
Se. Obligations arising out of a separation agreement cr divorce that you did not report as s 0.00
priority claims. (Copy line 6g.) Te
$f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +3 oe
9g. Total. Add lines a through Of. 5 440,601.00

 

 

 

Officieh Epge 19451 322-7 — SeeMEry OF (RUG AERO Dyd iabilitins eneeertp Sho stigajojorrmating Page 11 64955! 2
Fill in this information to identify your case and this filing:

 

Joel Alan Gaffney

 

 

Debtor 1

First Name Middle Name Last Name
Debtor 2
(Spouse, Tiling) Ariname Middle Name Last Name

United States Bankruptcy Court for the: District of New

 

Mexico
O check if this is

Case number. an amended

(it know)

filing

 

Official Form-106A/B
Schedule A/B: Property 12115

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

arn Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or sim#ar property?
No. Go to Part 2
CO Yes. Where is the property?

ar Bescribe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

 

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
No
QO Yes

4. Watercraft, aircraft, motor homes, ATVs and cther recreational vehicles, other vehicles, and accessories
Examples; Boats, trailers, motors, personal watercratt, fishing vessels, snowmobiles, motorcycle accessories

No
CO Yes

Add the doilar value of the portion you own for all of your entries from Part 2, including any entries for pages
5. you have attached for Part 2. Write that number here » $0.00

 

 

 

 

 

reais Describe Your Personal and Household items

Current value of the

Do you own or have any legal or equitable interest in any of the following? i
portion you own?

6. Household goods and furnishings Do nat deduct secured
claims or exemptions.

Examples: Major appliances, furniture, linens, china, kitchenware

(Na

Yes. Describe...

 

[Household Furniture $ 625.00.

 

7. Electronics

Examples: Televisions and radios: audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including ce!l phones, cameras, media players, games

CI No

Yes. Describe...

iPad Pro
Laptop Computer

Cell phone - Used for business and personat $ 1,475.00
Laptop Computer - Used for business and personal

 

 

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lo 5
Joel Alan Galiney i
Debtor 1 a= —— are Case number(if known)

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects,
stamp, coin, or baseball card collections; ather collections, memorabilia, collectibles

(No

Yes. Describe...

 

[Various board games $ 15000

 

S. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

[+] No
CO Yes. Describe...
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
No
CO Yes. Describe...
Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

(I No

Yes, Describe...

Clothing - Debtor
Professional Dress - For business $ 1,600.00

12. Jewelry

41

 

 

 

 

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems
gold, silver

No
(CD Yes. Descnbe...
13. Non-farm animals
Examples: Dogs, cats, birds, horses

(J No

Yes. Describe...

 

(2 cats - ordinary domestic $ 9.00

 

14, Any other personal and household items you did not already list, including any health aids you did not list

No
(0 Yes. Give specific information...

 

15, Add the dollar value of the portion you own for all of your entries from Part 3, including any entries for pages
you have attached for Part 3, Write that number here. > $3,850.00

 

 

 

 

ra Describe Your Financial Assets

 

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured
claims or exemptions
16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
CJNo

17. Deposits of maney

Examples: Checking, savings, or other financial accounts; certificates of deposit, shares in credit unions, brokerage houses
and other similar institutions. If you have muittiple accounts with the same institution, list each.

 

(No

VOB .asccsseesesseens Institution name:

17.1. Checking account: Sandia Laboratories FCU $ 383.41.
17.2. Savings account: Sandia Laboratores FCU $ 75.56__

 

2015

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Debtor 2 Joel Alan Gafiney Case number(if known)
Airs! Mame hades Name Lisl Nene
18. Bonds, mutual funds, or publicly traded stocks

19.

20.

21,

23.

24,

25.

26.

27.

Examples: Bond funds, investment accounts with brokerage firms, money market accounts
No
VES... ees

Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

OJ No

Yes, Give specific information about them..........-

Name of entity: % of ownership:

Galiney Law, PC 100 % $3 0,00

 

 

Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them,

No
() Yes. Give specific information about them..........
Retirement or pension accounts

Examples: interests in IRA, ERISA, Keogh, 401(k}, 403(b), thrift savings accounts, or other pension or profit-sharing plans

] No

( Yes. List each account separately

. Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service of use from a company

Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or athers

No

Annuities (A contract for a periadic payment of money to you, either for life or for a number of years)

No

YES... eeteeeeeee

Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition

program.

26 U.S.C. §§ 530(b}(1), 529A(b), and 529(b}(1).

Na

(OV YES... eerie

Trusts, equitable or future interests in property (other than anything listed in ine 1), and rights or powers
exercisable for your benefit

No

C Yes. Give specific information about them...

Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Intemet domain names, websites, proceeds from royalties and licensing agreements
No

Ci Yes. Give specific information about them...

Licenses, franchises, and other general intangibles

Examples: Building pennits, exciusive licenses, cooperative association holdings, liquor licenses, professional licenses

(J No

(-] Yes. Give specific information about them...

 

 

 

|New York Bar Admission, New Mexico Insurance Producer License, New Mexico Bar Admission - Suspended $ 9.00
Money or praperty awed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions
28. Tax refunds owed ta you
No
C Yes. Give specific information about them, including whether you already filed the returms and the tax years...
Federal: $ 9.00
State: $ 0.00
Local: $ 0.00

 

 

 

Jo 5

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Joel Alan Gafiney 4
Debtor 1 Gah —— = Case number(if known)

29. Family support
Examples; Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
No
C) Yes. Give specific information...

30. Other amounts someone owes you

Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else

No
QO Yes. Give specific information...

31. Interests in insurance policies
J No
Oo Yes. Name the insurance company of each policy and list its value...
32. Any interest in property that is due you fram someone who has died

(J No

( Yes. Give specific information...
33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment

[¥] No
CO Yes. Give specific information...

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set
off claims

No
CO Yes. Give specific information...

35. Any financial assets you did not already fist

No
CO Yes. Give specific information...

 

36, Add the dollar value cf the portion you own for all of your entries from Part 4, including any entries for pages
you have attached for Part 4. Write that number here >» $759.07

 

 

 

Tie Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

No, Go to Part 6.
(CO Yes. Goto line 38.

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
GUE if you own or have an interest in farmland, list it in Part 1,

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

No. Go to Part 7.
C] Yes. Ge to line 47.

itl@es Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
No

CO Yes. Give specific
information...

 

54. Add the dollar value of all of your entries from Part 7. Write that number here... 7

 

 

 

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Joel Alan Galfney
Debtor 1 Best ane Waco hana Last Meme

iige:he List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2.

56. Part 2: Total vehicles, line 5

57. Part 3: Total personal and household items, line 15

58. Part 4: Total financial assets, jine 36

59. Part 5: Total business-related property, line 45

60. Part 6: Total farm- and fishing-related property, jine 52

61. Part 7: Total other property not listed, line 54

62. Total personal property. Add fines 56 through G1 ......1secse

63. Total of all property on Schedule A/B. Add line 55+ line 62

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Case number{if known)

Copy personal property total >

$100

 

+$
4,609.07

 

 

$ 4,609.07

 

page 5 al 5

 
Fill in this information to identify your case:

Joe! Alan Gaffney
First Name: Middle Name

Debtor 1

 

Debtor 2
(Spouse, if filing) Firt Name Middie Name

 

United States Bankruptcy Court for the District of New Mexico

Case number (J Check if this is an
(It known) amended filing

 

 

Official Form 106C
Schedule C: The Property You Claim as Exempt ait

Be as complete and accurate as passibte. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, fist the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number {if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific doilar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular doflar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check ane only, even if your spouse is filing with you.

C) You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b}(3)
[41 You are claiming federal exemptions. 11 U.S.C. § 522(b}(2}

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

 

 

Brief description of the property and line on Current value of the Amount of the Specific laws that allow exemption
Schedule A/B that lists this property portion you own exemption you claim
Copy the value from Check only one box
Schedule A‘B for aach exemption
Bt Household Goods - Household Fumiture 11 USC § 522(d)(3}
625.00

description: — [7}s 625.00

oO 100% of fair market value, up to
Line from any applicable statutory limit
Schedule AB: 6
Brief Electronics - Pad Pro 11U.S.C, § 522 (d}{5)
description: $200.00 [1s 200.00

/ [1] 100% of tair market value, up to

Line from any applicable statutory limit
Schedule AB: 7
Brief Electronics - Laptop Computer 11 USC § 522(d)(3)
description: $ 250.00 [21s 250.00

[] 100% of fair market vatue, up to
Line from any applicable stalutory limit
Schedule AB: 7

3. Are you claiming a homestead exemption of more than $170,350?
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
[7] No
[3 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

CI No
CI Yes

Official FarASB21-11322-7 Doc1  béikaduib2/Ghd2icperlg mie tminke Mang 09:17:53 Page 17 of get of 2
Debtor Joel Alan Gaffney

 

Firas Namie Midde Mame

Additional Page

Lat Name

Brief description of the property and line

on Schedule A/B that lists this property

Electronics - Call phone - Used for business and

Brief personal
description:

Line from
Schedule A/B: 7
Brief nal
description: Perso
Line from
ScheduleA/B: 7

Electronics - Laptop Computer - Used for business and

Collectibles Of Value - Various board games

Brief
description:

Line from
Schedule A/B: 8

Brief
description:

Clothing - Clothing - Debtor

Line from
Schedule A/B: 11

Clothing - Professional Drass - For business

Brief
description:

Line from

Schedule A/B: 11
Brief
description:

Line from
Schedule A/B: 16

Cash on Hand (Cash on Hand)

Sandia Laboratories FOU (Checking Account)

Brief
description:

Line from
Schedule A/B: 17.1

Sandia Laboratories FCU {Savings Account!)

Brief
description:

Line fram

Schedule A/B: 172
: Gaffney Law, PC
Brief

description:

Line from

Schedule 4/B: 18
Brief

description:

Line from
Schedule A/B:
Brief
description:

Line from
Schedule A/B:

Brief
description:

Line from
Sehedule A/B:

Current value of the
portion you own
Copy the value from
Schedule A/B

400.00

$625.00

$150.00

$600.00

51,000.00

300.00

5 383.41

$75.66

3.0.00

Case number (i known),

Amount of the
exemption you claim

Check only one box
for each exemption

¢ 400.00

[J 100% of fair market value, upto
any applicable statutory limit

§-625:00
[100% of tair market vatue, up to
any applicable statutory limut

[7] 150.00

100% of fair market value, up ta
any applicable statutory limit

§ 600.00

oO 100% of fair market value, up to
any applicable statutory limit

g 1,000.00

oO 100% of fair market value, up te
any applicable statutory limit

g 300.00

| 100% of fair market value, up to
any applicable statutory limit

g 383.41

[2] 100% of tair market value, up to
any applicable statutory limit

Fak: 75.66

oO 100% of fair market value, up to
any applicable statutory limit

g 9.00

[J 100% of fair market vatue, up to
any applicable statutory limit

Cs

CI 100% of fair market value, up to
any applicable statutory limit

Cis

100% of fair market value, up to
any applicable statutory limit

Cs

[CJ 100% of fair market value, up to
any applicable statutory limit

Specific laws that allow exemption

11 USC § 522(d)(6)

11 USC § §22(c)(3)

11 U.S.C. § 522 (d)(5)

11 USC § S22{d}(3)

11 USG § 522{41(8)

11 USC. § 522 (dX5)

11 U.S.C, § $22 (4)(5)

14 USC § 522(a)(5)

11 U.S.C. § 522 (d)f5)

Official aS@OL1-11322-7 Doc 1 skiikatleL2Mererbennbraiciad Zes21 09:17:53 Page 18 ahbB of 2
Fill in this tnformation to identify your case:

Debtor 1 Joel Alan Gatiney
Ferd Marte: Kicidle Nama

 

Debtor 2
(Spouse, if filing) Gntname

 

Maddie Name Cass Hera

United States Bankruptcy Court far the: District of New Mexico

Case number OCheck if this is
(if know) an amended
filing

 

 

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write
your name and case number {if known).

 

1.Do any creditors have claims secured by your property?
{) No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form
(CF Yes. Fill in all of the information below.

List All Secured Claims

2. List all secured claims. If a creditor has more than one secured claim, list the creditor Column A Column 8 Column C
separately for each claim. tf more than one creditor has a particular claim, list the other creditors in Amount of Value of Unsecured
Pant 2. As much as possible, list the claims in alphabetical order according to the creditor's name. Slaim Do nat collateral that —_ portion if any

deduct the value supports this
of collateral. claim

Add the dollar value of your entries in Column A on this page. Write that number here:

List Others to Be Notified for a Debt That You Already Listed

 

Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1 Far example, if a collection
agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the coilectian agency here.
Similarly, if you have more than one creditor for any of the debts that yau listed in Part 1, list the additional creditors here. If you do not have
additional persons to be notified for any debts in Part 1, do not fill out or submit this page.

roimeg@oe 21-11322-7 Doc setdl eG £g/02/21 Entered 12/02/21 09:17:53 Page 19 of 55

Offictal ho Have Claims Secured by Property

page 1 of 1
Fill in this information to identify your case:

Joel Alan Gatiney

Vest Name

Debtor 1
Middia Name
Debtor 2

(Spouse, if filing} First nama

 

Middle Name See

United States Bankruptcy Court for the: District of New Mexico

CO Check if this is

 

 

 

 

Case number

(if know) an amended
filing

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims 12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property
(Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). De not include any creditors with
partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you
need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the tcp of any additional pages, write
your name and case number (if known).

List All of Your PRIORITY Unsecured Claims
1.Do any creditors have priority unsecured claims against you?
No. Go to Part 2.
0) Yes.
List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
() Ne. You have nothing else to report in this part. Submit to the court with your other schedules,
Yes. Fill in all of the information below.

4, List all of your nonpriority unsecured claims in the alphabetical order of the creditor who halds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is, Do not list claims already
included in Part 1. !f more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
claims fill out the Continuation Page of Part 2.

 

 

 

Total claim

4.1) amex Last 4 digits of oo number 3493 $ 1,042.00

Nonpnomy Grediiors Name When was the debt incurred? 2017

Po Box 297871 As of the date you file, the claim is: Check all that apply.

Number Steet O Contingent

Fort Lauderdale FL 33329 Unliquidated

City State ZIP Code (C) Dispute

Who owes the debt? Check one.

Debtor 1 only Type of NONPRIORITY unsecured claim:

(C2 bebtor 2 only (Student loans

( Debtor 1 and Debtor 2 only
(CD At least one of the debtors and another

0 ee if this claim relates to a community
ebt

Is the claim subject to offset?
No
(1 Yes

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Schedulo E/F: Creditors Who Have Unsecured Claims

Official Form 106E/F

(J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

oO meets to pension or profit-sharing plans, and other similar
debts

Other. Specify Credit Card Debt

page 1 of 14
Deblor

a]

4a

Joel Alan Gatiney

Fast Name Miche Name Tast Name

Bbva Usa

 

Nonpnority Creditor's Name
15 20iInstSAY

 

 

Number Street
Birmingham AL 35233
City Sate ZIP Code

Who owes the debt? Check one.

(¥] Debtor 2 only

QC Debtor 2 only

(CD Debtor 1 and Debtor 2 only

(C) Atieast one of the debtors and another

OC Check if this claim relates to a community
debt

Is the claim subject to offset?
No
CO Yes

Brandon D Flath

 

Nonprionty Creditors Name

200 Skyline Dr

Number Steet

Edgewood NM 87015

City State ZIP Code

Who owes the debt? Check one.
Debtor 2 only

( Debtor 2 only

(CD Debier 1 and Debtor 2 only

(At least one of the debtors and another

O Check if this claim relates to a community
debt

Is the claim subject to offset?
©) No
OC Yes

Brian Dale Van Winkle

 

Nonpriority Crediter’s Name
702 White min

 

Number Street
Ruidoso NM 88355

 

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

( Debter 2 only

(CD Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

OC Check if this claim relates to a community
debt

Is the claim subject to offset?
No
C] Yes

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Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Clalms

Case number(if known)

Last 4 digits of account number 8575

$ 34,244.00
When was the debt incurred? 2018 TT

As of the date you file, the claim is: Check all that apply.
C Contingent

Untiquidated

CQ Oisputed

Type of NONPRIORITY unsecured claim:
(Student foans

(C] Obtigations arising out of a separation agreement or divorce
that you did not report as priority claims

(CL) Cetts to pension or profit-sharing plans, and other similar
debts

Other. Specify Monies Loaned / Advanced

Last 4 digits of account number

$ 876.28
When was the debt incurred? —

As of the date you file, the claim is: Check all that apply.
CJ Contingent

CO Uniiquidatea

OC Disputed

Type of NONPRIORITY unsecured claim:
(Student loans

(CO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

( Debts to pension or profit-sharing plans, and other similar
debts

(] Other. Specify Unearned legal fees

Last 4 digits of account number

$ 1,927.47
When was the debt incurred? TT

As of the date you file, the claim is: Check all that apply,
CJ Contingent

CJ unliquidated

C Disputed

Type of NONPRIORITY unsecured claim:
Q)Student toans

(J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(J Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify Unearned legal fees

page 2 of 14
Debtor

a3]

a]

Joel Alan Gaffney

 

 

 

 

 

 

 

 

 

 

Offidal Form 106E/F

a MSS TS —— Case number(if known)
Capitalone Last 4 digits of account number 2608 $ 65.00
Ronphomy Gredtors Name When was the debt incurred? 2016 —
7 Box — As of the date you fite, the claim is: Check ali that apply.
Soe Contingent
Salt Lake City UT 84130 Untiguitated
City State ZIP Code (C Disputed
Who owes the debt? Check one.
(2) Debtor 1 only Type of NONPRIORITY unsecured claim:
(1) Debtor 2 only (Student loans
(CO Debtor 1 and Debtor 2 only potgations arising out ofa Separation agreement or divorce
C. Atleast one of the debtors and another oO Debs to pension or profi-sharing plane, and other similar
CO Check if this claim relates to 2 community debts
debt Other. Specify Credit Card Debt
Is the claim subject to offset?
No
© ves
Capital One Bank Usa N Last 4 digits of account numbe¢ **** $ 1,776.00
Nonpromy Credior’s Name When was the debt incurred? 2007 ——
oe capi One Dr As of the date you file, the claim is: Check all that apply.
eee Contingent
Richmond VA__-23238 Uniiquideted
Cry State ZIP Code C1 Disputed
Who owes the debt? Check one.
Debtor 1 only Type of NONPRIORITY unsecused claim:
CO Debtor 2 onty (Student loans
( Debtor 1 and Debtor 2 only Oo Obligations arising out of a separation agreement or divorce
C) Atleast one of the debtors and another 0 oe ee and other similar
QO) Check if this claim relates to a community debts ,
debt (2] Other. Specify Credit Card Debt
Is the claim subject to offset?
No
CO) Yes
Celine Marie Lewis Last 4 digits of account number $ 1,240.63
Nonpretiy Creditor’s Name When was the debt incurred? a
6120 Chayote Rd. NE As of the date you file, the claim is: Check all that apply.
Number Street oO Contingent
Ric Rancho NM 87144 CO unliquidated
Cay State ZIP Code oO Disputed
Who owes the debt? Check one.
Debtor 1 only Type of NONPRIORITY unsecured claim:
C1 debtor 2 only (JStudent loans
(CO Debtor 1 and Debtor 2 only oO gbiigations arising out ofa separation agreement or divorce
C7 At least one of the debtors and another Oo Debits 1 pension ort ae and other similar
(CD Check if this claim relates to a community debts
debt Other. Specify Unearned legal fees
Is the claim subject to offset?
(¥] No
OC Yes
Case 21-11322-7 Doci1 Filed 12/02/21 Entered 12/02/21 09:17:53 Page 22 of 55
Schedule E/F: Creditors Who Have Unsecured Claims page 3 of 14
Debtor Joel Alan Gaffney

First Newme Macghe Name Lat Name

4.8! Discover Fin Svcs Lic
Nonpriorty Creditor's Name

Po Box 15316

Number Street

Wilmington DE 19850

City State ZIP Code

Who owes the debt? Check one.

(4) Debtor 1 onty

C1 Debtor 2 onty

(J Debtor 1 and Debtor 2 onty

(At least one of the debtors and another

(CD Check if this claim relates to a community
debt

Is the claim subject to offset?
No
O Yes

4.9] Fed Loan Serv
Nonprionty Creditor's Name

Po Box 60610

Number Street

Harrisburg PA_:17106

City State ZIP Code

Who owes the debt? Check one.

[2] Debter 1 only

(J Debtor 2 only

( Debtor 1 and Debtor 2 only

() At teast one of the debtors and another

ga ee if this claim relates to a community
el

1s the claim subject to offset?
No
CO ves

4.10] internal Revenue Service
Nonpriority Creditors Name

PO Box 7346

Number Sweet

Philadelphia PA _19101-7346

City State ZIP Code

Who owes the debt? Check one.

(J Debtor 1 only

( Debtor 2 onty

(J Debtor 1 and Debtor 2 only

At least one of the debtors and another

C Check if this ciaim relates to a community
debt

ts the claim subject to offset?
(=) No
(Yes

Case number(if known)

Last 4 digits of account number **** $ 5,009.00
When was the debt incurred? 2013 —

As of the date you file, the claim is: Check all that apply.
C1 Contingent

Unliquidated

CO Disputed

Type of NONPRIORITY unsecured claim:
(Student loans

C1 Obtigations arising out of a separation agreement or divorce
that you did not report as pricnty claims

oO Bevis to pension or profit-sharing plans, and other similar
ebts

Other, Specify Credit Card Debt

Last 4 digits of account number 0032 $ 440,601.00
When was the debt incurred? 2014 —_

As of the date you file, the claim is: Check all that apply.
(J Contingent

Uniiquidated

CJ Disputed

Type of NONPRIORITY unsecured claim:
{4} Student loans

CJ Obligations arising out of a separation agreement or divorce
that you did not repost as priority claims

oO Denis to pension or profit-sharing plans, and other similar
ebts

(Q Other. Specity

Last 4 digits of account number

$ Unknown
When was the debt incurred? nn |

As of the date you file, the claim is: Check all that apply.
CO Contingent

Untiquidated

Disputed

Type of NONPRIORITY unsecured claim:

C)Student loans

CJ Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

QO Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify

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Schedule E/r: Creditors Who Have Unsecured Claims page 4 of 14
Debtor

Joel Alan Gafiney
Fast Name

Migckt Name Last Narn

4.11] jomeb Card

4,12

4.13

Nonpnority Creditors Name

Po Box 15298

Number Street

Wilmington DE 19850

City Sute ZIP Code

Who owes the debt? Check one.

[¥] Debtor 1 onty

() Debtor 2 onty

( Debtor 1 and Debtor 2 only

CD At least one of the debtors and another

oO a if this claim relates to a community
le!

(s the claim subject to offset?
(¥] No
O Yes

Jomecb Card
Nonprority Creditors Name

Po Box 15298

Number Street

Wilmington DE _: 19850

City State ZIP Cade

Who owes the debt? Check one.

(4) Debtor 1 only

( Debtor 2 aniy

(() Debter 1 and Debtor 2 only

(CO At least one of the debtors and another

O Gheck if this claim relates to a community
le

Is the claim subject to offset?
No
OC Yes

Julie Ann Delgado
Nonprionty Crector’s Name

1414 S. Union Ave
Number Street
Apt D-11

Roswell NM 88203

City Stage ZIP Code

Who owes the debt? Check one.

(2) Debtor 1 only

(CD Debtor 2 only

(CD Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

oO check if this claim relates to a community
e

Is the claim subject to offset?
(¥) No
CO Yes

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Schedule EJF; Creditors Who Have Unsecured Claims

Case number(if known)

Last 4 digits of account number ****

$ 1,450.00
When was the debt incurred? 20038

As of the date you file, the claim is: Check all that apply.
CO Contingent

Uniiquidated

{C] Disputed

Type of NONPRIORITY unsecured claim:
(Student loans

( Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(3 Debts to pension or profit-sharing plans, and other similar
debis

Other. Specify Credit Card Debt

Last 4 digits of account number ***

$ 13,476.00
When was the debt incurred? 2007

As of the date you fite, the claim is: Check all that apply.
CO Contingent

Untiquidated

Ca Disputed

Type of NONPRIORITY unsecured claim:
(Student loans

oO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

9 Debts to pension or profit-sharing plans, and other similar
ebis

{¥] Other. Specify Credit Card Debt

Last 4 digits of account number

$ 1,500.00
When was the debt incurred? 07/17/2020 —

As of the date you file, the claim is: Check all that apply,
OC Contingent

C unliquidated

QC Disputed

Type of NONPRIORITY unsecured claim:
(Student loans

CO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(J Debts ta pension or profit-sharing plans, and other similar
debts

Olher. Specify Unearned legal fees

page 5 of 14
Joel Alan Galfney
Debtor Fast Name Melo ane Last Name

4.14) Linda Ghattari
Nonpnority Creditor's Name

4716 Taylor Ridge Rd NW

Number Steet

Albuquerque NM _ __87120

City State ZIP Code

Who owes the debt? Check one.
Debtor 2 only

(CD Debtor 2 only

(Debtor 1 and Debtor 2 only

(Al least one of the debtors and another

( Check if this claim relates to a community
debt

Is the claim subject to offset?
No
CO Yes

 

 

 

 

 

 

 

Case number(if known)

Last 4 digits of accaunt number $ 1,660.00
When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
1 Contingent

CO unliquidated

CJ Disputed

Type of NONPRIORITY unsecured claim:

(Student loans

(J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C2 Debts te pension or profit-shasing plans, and other similar
debts

[2] Other. Specify Unearned legal fees

4.15] werrick Bank Corp wn 4 nae a en ae 3817 $5.
Nonprony Creditors Name ee eee
Po Box 9201 As of the date you file, the claim is: Check all that apply.
Number Street oO Contingent
Old Bethpage NY 11804 Unkquidated
Cay State ZIP Code Disputed
Who owes the debt? Check one.
(2) Debtor 1 only Type of NONPRIORITY unsecured claim:
(CD Debtor 2 onty (Student toans
(CO Debtor 1 and Debtor 2 only (C) Obligations arising out of a separation agreement or divarce
least one of the debtors and another that you dd not report as priority claims
5 nen it this chat — Ky oO ried to pension or profit-sharing plans, and other similar
ec claim relates to a commun le!

debt Olher. Specify Credit Card Debt
Is the claim subject to offset?
No
(Yes

Last 4 digits of account number
4.16 | Wew Mexico Taxation & Revenue Department Wh 8 the debt | a ® $ Unknown
Nonpriorty Creditors Name en was the debt incurred?
Bankruptcy Section As of the date you file, the claim is: Check all that apply.
Number Street (1 Contingent
PO Box 8575 (} Uniiquidated
Disputed
ASbuquerque NM 87198-8575
City State ZIP Code Type of NONPRIORITY unsecured claim:
Who owes the debt? Check one, (() Student loans
oO Debtor 1 only oO Obligations arising cut of a separation agreement of divorce
(Debtor 2 onty that you did not report as priority claims
GQ Debtor 1 and Debtor 2 only oO Depts to pension or profit-sharing plans, and other similar
ebts

(#} At least one of the debtors and another (¥] Other. Specity
CJ Check if this claim relates to a community

debt
Is the claim subject to offset?
No
Ci Yes

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Debtor cel Alan Gatiney

SI Nate Middie Name Last Narne

4.17 | NM Department of Workiorce Solutions
Nonpnority Creditors Name

501 Mountain Rd NE

Number Street

Albuquerque NM 87102

City Site ZIP Code

Who owes the debt? Check one.

(4) Debtor 2 onty

( Debtor 2 only

CJ Debtor 1 and Debtor 2 only

CO Atleast one of the debtors and another

OC Check if this claim relates to a community
debt

Is the claim subject to offset?
(*] No
OJ Yes

4.18) Nm Mexico Educational
Nonpriority Creditor's Name

Po Box 27020

Number Street

Albuquerque NM 87125

City State ZIP Code

Who owes the debt? Check one.

(4) Debter 4 only

OO Debior 2 onty

(CJ Debtor 1 and Debtor 2 only

CD At least one of the debtors and another

oO eae if this claim relates to a community
ebt

Is the claim subject to offset?
(#] No
QO) ves

4.18] paypal Credit
Nonpriority Credtor's Name

PO Box 71202

Number Street

Charlotte NC 28272-1202

City State ZIP Code

Who owes the debt? Check one.

[+] Debtor 1 oniy

CJ Debter 2 onty

(2 Debtor 1 and Debtor 2 only

C7 At teast one of the debtors and another

CJ Check if this claim relates to a community
debt

Is the claim subject to offset?
Na
OO Yes

Case number(if known)

Last 4 digits of account number 5732

$ Unknown
When was the debt incurred?

As of the date you file, the claim is: Check all that apply,
C) Contingent

Unliquidated

Disputed

Type of NONPRIORITY unsecured claim:
(Student loans

CJ Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(J Debts to pension or profit-sharing plans, and other similar
debts

Other. Specify

Last 4 digits of account number 4019 5
When was the debt incusred? 2010

E

As of the date you file, the claim is: Check all that apply.
CJ Contingent

(¥] Unfiquidated

QO Disputed

Type of NONPRIORITY unsecured claim:
(2) Student toans

oO Obligations arising out of a separation agreement or divorce
that you did not repor as priority claims

(J Debts to pension or profit-sharing plans, and other similar
debts

C] Other. Specify

Last 4 digits of account number $ 5,757.44
When was the debt incurred?

As of the date you file, the claim is: Check ail that apply.
CJ Contingent

(©) Uniiquidated

(1) Disputed

Type of NONPRIORITY unsecured claim:

(Student loans

() Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

oO Debis to pension of profit-sharing plans, and other simitar
ebts

Other. Specify Monies Loaned / Advanced

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Schedule E/F: Creditors Who Have Unsecured Clalms page 7 of 14
joel Alan Galiney

Debtor J
isi Name Midge Name Lied Name

4.20] saliie Mae Bank Inc
Nonpriority Creditors Name

Pa Box 3229

Number Street

Witmington DE —_19804

City State ZIP Code

Who owes the debt? Check one.

(=) Debtor 3 only

(() Debtor 2 only

CD Debtor 1 and Debtor 2 only

OC Atleast one of the debtors and another

C] Check if this claim relates to a community
debt

Is the claim subject to offset?
No
OC ves

4.21 Sofi
Nonpriority Creditors Name
2750 E Cottonwood Pkwy
Number Street
Cottonwood Heights UT 84121

 

Cry State ZIP Code
Who owes the debt? Check one.
Debtor 1 only

(CO Bebtor 2 onty

(CJ Debtor 1 and Debtor 2 only
(At least one of the debtors and another

O Check if this claim relates to a community
deht

Is the claim subject to offset?
No
Q Yes

4.221 Suntrust
Nonpnority Creditors Name

600 W Broadway Ste 2000

Number Sireet

San Diego CA 92101

City State ZIP Code

Who owes the debt? Check one.
Debtor 1 only

(J Debtor 2 onty

(CD Debtor 1 and Debtor 2 only

0 At least one of the debtors and another

O Check if this claim relates ta a community
debt

is the claim subject to offset?
[4] No
OO Yes

Case number(if known)

Last 4 digits of account number 2709

$ 11,380.14
When was the debtincurred? 2012 a

As of the date you file, the claim is: Check all that apply.
CJ Contingent

Uniiquidated

CJ Disputed

Type of NONPRIORITY unsecured claim:
(Student loans

(CO Obligations arising out of a separation agreement or divorce
{hat you did not repost as priority claims

( Cetts to pension or profit-sharing pians, and other similar
debts

(¥] Other. Specity Monies Loaned / Advanced

Last 4 digits of account number 4362 $ 28,802.00
When was the debt incusred? 2017 ~~

As of the date you file, the claim is: Check all that apply.
(1) Contingent

Unliquidated

CO Disputed

Type of NONPRIORITY unsecured claim:
(Student loans

(© Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(Debts to pension or profit-sharing plans, and other similar
debts

{2] Other. Specify Monies Loaned / Advanced

Last 4 digits of account number 4710 $ 17,342.00
When was the debt incurred? 2018 el

As of the date you file, the claim is: Check all that apply.
CJ Contingent

{¥] Untiquidated

OC Disputed

Type of NONPRIORITY unsecured claim:
(Student toans

CJ Obtigations arising out of a separation agreement or divorce
that you did not report as priority claims

O pets to pension or profit-sharing plans, and other similar
ebts

Other. Specify Monies Loaned / Advanced

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Schedule E/F: Creditors Who Have Unsecured Claims page B of 14
Joel Alan Gatiney

 

 

 

 

 

Tricore Reference Laboratories
Nonprioity Creditors Name

Debtor — —— == Case number(if known}
Last 4 digits of account number
4.23 Timothy Kilguss z the debti d? $ 1,556.00
Nonpnoarity Credtor's Name When was the debt incurre
801 Locust Place NE As of the date you file, the claim is: Check all that apply.
Number Street oO Contingent
Apt 1251 0 Unliquidated
C] Disputed
Albuquerque NM 87102
City Site 2IP Code Type of NONPRIORITY unsecured claim:
Who owes the debt? Check one (JStudent loans
Debtor 1 only (CO Obligations arising out of a separation agreement or divorce
0 Debtor 2 that you did not report as priority claims
aon (CQ) Debts to pension or profit-sharing plans, and other similar
(CO Debtor 1 and Debtor 2 only debts
| At least one of the debtors and another (4) Other. Specify Unearned legal fees
(Cheek if this claim relates to-a community
debt
Is the claim subject to offset?
No
() Yes
Last 4 digits of account number 7639 $ 504.96

When was the debt incurred? 07/09/2019

 

 

PO Box 27561 As of the date you file, the claim is: Check all that apply.
Number Street Q Contingent

Albuquerque NM 87125 Unliquidated

City Sute ZIP Cade 0 Disputed

Who owes the debt? Check one.

Debtor 1 only Type of NONPRIORITY unsecured claim:

(1) Debtor 2 only (C)Student loans

(CO) Debtor 1 and Debtor 2 only
(CO Atleast one of the debtors and another

CO Cheek if this claim relates to a community
debt

Is the claim subject to offset?
(4] No
Cl Yes

Oo Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(LJ Debts te pension or profit-sharing plans, and other similar
debts

{¥] Other. Specify Medical Services

List Others to Be Notified About a Debt That You Already Listed

 

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a
collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the
collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional
creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

CPF Commission
Crednor’s Name

2440 Louisiana Blvd. NE
Number Street

Suite 280

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4.7_ af (Check one):

 

(Part 4: Creditors with Priority Unsecured Claims
(+}Part 2: Creditors with Nonpriority Unsecured

Albuquerque NM 87120 Last 4 digits of account number

City State ZIP Code

CPF Commission
Creditor’s Name

2440 Louisiana Bly. NE
Number Street
Suite 250

On which entry in Part 1 or Past 2 did you list the original creditor?

Line 4.23 of (Check one}: (()Part 1: Creditors with Priority Unsecured Claims

(4JPart 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number

Albuguerque NM 87110
city State ZIP Code

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Debtor Joel Alan Gatine

First Name Miche Marte 4a Name

CPF Cammission

 

Creditor's Name

2440 Louisiana Bivd. NE
Number Street

Suite 280

Aibuguerque NM (87110
Cay State ZIP Code

CPF Commission
Credtor’s Name

2440 Louisiana Blvd. NE
Number Street
Suite 280

Albuquerque NM 87110
City State ZIP Code

CPF Commission
Creditor's Name

2449 Louisiana Blvd. NE
Number Street

Suite 280

 

Albuguerque NM 87110
City State ZIP Code

CPF Commission
Credaor’s Name

2440 Louisiana Blvd. NE

 

Number Street
Sulte 280

Albuquerque NM 87110

 

City Sime ZIP Code

Frontline Asset Strategies

 

Credaor’s Name
2700 Snelling Ave N.

 

Number Street
Suite 250

Roseville MN 55113

 

City State ZIP Code

Guglielmo & Associates
Credaor's Name

PO Box 41688

 

Number Street
Tucson AZ 85717

 

Cay State ZIP Code

Lynav Funding Lic

 

Credaor’s Name

Po Box 1269

Number Street
Greenville SC 29602

 

Cay State ZIP Code

MRS BPO
Credior’s Name

4930 Olney Ave

 

Number Street
Cherry Hill NJ 08003
cry State ZIP Code

Case number(if known)

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.14 of (Check one): ~~ ()Part 1: Creditors with Priority Unsecured Claims
(-}Part 2: Creditors with Nonpriority Unsecured

Claims
Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.13 of (Check one}: (Part i: Creditors with Priority Unsecured Claims
(¢J]Part 2: Creditors with Nonpriority Unsecured

Claims

Last 4 digits of account number

On which entry in Past 1 of Part 2 did you list the original creditor?

Line 4.4_ of (Check one): ~~ (()Part 1: Creditors with Priority Unsecured Claims
(2)Pan 2: Creditors with Nonpriority Unsecured

Claims
Last 4 digits of account number

On which entry in Part 1 or Part 2 did you fist the original creditor?

Line 4.3 of (Check one): ()Part 1: Creditors with Priority Unsecured Claims
(¥)Part 2: Creditors with Nonpriority Unsecured

Claims
Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.21 of (Check one): (Part 1: Creditors with Priority Unsecured Claims
(¥}Part 2: Creditors with Nonpriority Unsecured

Claims
Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.8 ol (Check one): ()Part 1: Creditors with Priority Unsecured Claims
(/]Part 2: Creditors with Nonpriority Unsecured

Claims
Last 4 digits of account number 0406

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.21 of (Check one): (()Part 1: Creditors with Priority Unsecured Claims
(-}Part 2: Creditors with Nonpriority Unsecured

Claims
Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.12 of (Check one): ()Pan 1: Creditors with Priority Unsecured Claims
()Pant 2: Creditors with Nonpriority Unsecured

Claims
Last 4 digits of account number

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Debtor Joe Alan Gaffney

Hatt Marne Miggle Name Last are

MRS BPO

 

Creditors Name
1930 Olney Ave
Number Street

Cherry Hill NJ O8C03
City State ZIP Code

Nationwide Credit, inc

 

Creditor’s Name
PO Box 15130
Number Street

Wilmington DE 49850-5130
City State ZIP Code

Nationwide Credit. Inc

 

Creditor’s Name

PO Box 15310
Number Street

Wilmington DE _19850

 

City State ZIP Code

Nationwide Credit, Inc

 

Creditor's Name

PO Box 15310

Number Street
Wilmington DE 19850

 

Cry State ZIP Code

Nm Mexico Educational
Credaor's Name

Po Box 27020

 

Number Street
Albuquerque NM 87125

 

City State ZIP Code

Nm Mexico Educational

 

Creditor's Name

Po Box 27020

Number Street

Albuquerque NM 87125
cay State ZIP Code

Nm Mexico Educational
Credtor's Name

Po Box 27020

Number Street

Aijbuguerque NM 87125
Cay State ZIP Code

Nm Mexico Educational

 

Creditor’s Name
Po Box 27020

 

Number Street
Albuquerque NM 87125

 

Cry State ZIP Code

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Schedule E/F: Creditors Who Have Unsecured Cialms

Case number(if known)

On which entry in Part 1 or Part 2 did you list the otiginal creditor?

Line 4.11 of (Check one): [Cjpart 1: Creditors with Priority Unsecured Claims
(-JPart 2: Creditors with Nonpriority Unsecured

Claims
Last 4 digits of account number

Gn which entry in Part 1 or Part 2 did you list the original creditor?

tine 4.1. of (Check one): (Part 1: Creditors with Priority Unsecured Claims
(-]Part 2: Creditors with Nonpriority Unsecured

Claims
Last 4 digits of account number_0990

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.12 af (Check one): (jPart i: Creditors with Priority Unsecured Claims
{¥jPant 2: Creditors with Nonpriotity Unsecured

Claims
Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.11 of (Check one): (Par 1: Creditors with Priority Unsecured Claims
(2)Pant 2: Creditors with Nonpriority Unsecured

Claims
Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.18 of (Check one): (()Part 1: Creditors with Priority Unsecured Claims
{¥)Pant 2: Creditors with Nonpriority Unsecured

Claims

Last 4 digits of account number 9299

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.18 of (Check one): (Part 1: Creditors with Priotity Unsecured Claims
(y)Pan 2: Creditors with Nonpriosity Unsecured

Claims
Last 4 digits of account number 8999

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.18 of (Check one): (Part 1: Creditors with Priotity Unsecured Claims
(Pant 2: Creditors with Nonpriority Unsecured

Claims
Last 4 digits of account number 8599

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.18 of (Check one): {Part 1: Creditors with Priority Unsecured Claims
(Pant 2: Creditors with Nonpriority Unsecured

Claims
Last 4 digits of account number 4199

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Debtor Joel Alan Gafiney

First Narrer Niche Niner

Nm Mexico Educational
Creditor’s Name

Po Box 27020

Lad Name

 

Number Street

Albuquerque NM 97125
City State ZIP Code

Nm Mexica Educational
Credaor’s Nome

Pa Box 27020

Number Street

Albuquerque NM 87125
City State ZIP Code

Nm Mexico Educational
Creditor’s Name

Po Box 27020

Number Street

Albuquerque NM 87125
chy State ZIP Code

Nm Mexico Educational
Creditor’s Name

Po Box 27020
Number Street

Albuquerque NM 87125
City State ZIP Code

Nm Mexico Educational

 

 

 

Creditor’s Name

Po Box 27020

Number Street

Albuquerque NM — 87325
cry Sate ZIP Code

Nm Mexico Educational
Creditor’s Name

Pa Bax 27020

Number Street

Albuquerque NM 87125
City State ZIP Code

Nm Mexico Educational
Creditors Name

Po Box 27020

Number Street

Albuquerque NM 87125
City Sute ZIP Code

Nm Mexico Educational
Creditor'’s Name

Po Box 27020

Number Street

Albuquerque NM 87125
City State ZIP Code

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Case number(if known)

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.18 of (Check one): (()Pant 1: Creditors with Priority Unsecured Claims
(4)Part 2: Creditors with Nonpriority Unsecured

Claims
Last 4 digits of account number 0419

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.18 of (Check one): ((jPart 1: Creddors with Priority Unsecured Claims
(4]Part 2: Creditors with Nonpriority Unsecured

Claims

Last 4 digits of account number 6219

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.18 of (Check one}: ("Part 1: Creditors with Priority Unsecured Claims
[4]Part 2: Creditors with Nonpriority Unsecured

Claims
Last 4 digits of account number 7519

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.18 of (Check one): (Part i: Creditors with Priority Unsecured Claims
(4)Part 2: Creditors with Nonpriority Unsecured

Claims

Last 4 digits of account number 3399

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.18 of (Check one): (()Part 1: Creditors with Priority Unsecured Claims
(4]Part 2: Creditors with Nonpriority Unsecured

Claims

Last 4 digits of account number 7619

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.18 of (Check one): (Part 1: Creditors with Priority Unsecured Claims
(@]Pant 2: Creditors with Nonpriority Unsecured

Claims
Last 4 digits of account number 0319

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.18 of (Check one): = ()Part 1: Creditors with Priority Unsecured Claims
(-]Part 2: Creditors with Nonpriority Unsecured

Claims
Last 4 digits of account number 0219

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.18 of (Check one): ~~ (jPant 1: Creditors with Priority Unsecured Claims
(Pan 2: Creditors with Nonpriority Unsecured

Claims

Last 4 digits of account number 4619

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Schedule E/F: Creditors Who Have Unsecured Clalms

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Debtor aoe Alan Galiney

Nene Mingle Name Last Nano

Nm Mexico Educational

 

Creditor’s Name
Po Box 27020
Number Street
Albuquerque NM 87125

Ciry

Stae = ZIP Code

Nm Mexico Educational

 

 

 

Credéor’s Name

Po Box 27020

Number Street

Albuquerque NM 87125
Cay State = 21P Code
Nm Mexico Educational

 

Creditor's Name
Po Box 27020

 

Number

Sueet

Albuquerque NM 87125

City

PNC Bank

State ZIP Code

Credior's Name

PO Box 96066

Number Steet
Pittsburgh PA 15226

Cry

State ZIP Cade

Portiolia Recovery Associates LLC

 

Crednor’s Name

PO Box 12914
Number Street

Norfotk VA
Sute ZIP Code

City

235441

Synchrony Bank
Credior’s Name

Alin: Bankruptcy Dept.

Number

Steet

P.O. Box 965061

Orlando FL

City

ae a the Amounts for Each Type of Unsecured Claim

32896

State ZIP Code

Case number(if known)

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.18 of (Check one}: (C]Part 1: Creditors with Priority Unsecured Claims
(v]Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number 4519

Gn which entry in Past 1 or Part 2 did you fist the original creditor?

Line 4.18 of (Check one): (Part 1: Creditors wih Priority Unsecured Claims

{¥)Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number 6119

On which entry in Part 1 of Part 2 did you list the original creditor?

Line 4.18 of (Check one): ()Part 1: Creditors with Priority Unsecured Claims

(-)Part 2: Creditors with Nonpriarity Unsecured
Claims
Last 4 digits of account number 2899

On which entry in Past 1 or Part 2 did you list the original creditor?

Line 4.2_ of (Check one): (7jPart 1: Creditors with Priority Unsecured Claims

()Pan 2: Creditors with Nonpricrity Unsecured
Claims

Last 4 digits of account number

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.6 of (Check one): (Par 1: Creditors with Priosity Unsecured Claims
(+]Part 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number

Gn which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.19 of (Check one): (()Pant 1: Creditors with Priority Unsecured Claims

()Pan 2: Creditors with Nonpriority Unsecured
Claims

Last 4 digits of account number

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C, § 159.

Add the amounts for each type of unsecured claim.

from Part 1

 

Tatal claim
Totai claims 6a, Domestic support obligations 6a. 3 0.00

6b. Taxes and certain other debts you awe the 6b. $ 0.00
government
6c. Claims for death or personal injury while you were Gc. % 0.00

intoxicated
6d. Other. Add all other priority unsecured claims. Write that 6d. $ 0.00

amount here.
6e, Total. Add lines 6a through 6d. Ge.

$ 0,00

 

 

 

Case 21-11322-7 Doc1 Filed 12/02/21 Entered 12/02/21 09:17:53 Page 32 of 55,

Official Form 106E/F

Sehedule E/F: Creditors Who Have Unsecured Claims

qa 22 of 14
Debtor Jae! Alan Gafiney Case number(if known)

 

 

Fist Marre Aeoke Aue: Lacs Adaerier
Total claim
Total claims § 6i. Student loans 6f. $ 440,601.00
from Part 2 —
6g. Obligations arising out of a separation agreement or 6g. $ 9.00
divorce that you did not repert as priority claims
6h. Debts to pension or profit-sharing plans, and other 6h. $ 0.00
similar debts
6i. Other. Add all other nonpriority unsecured claims. Write that 6. $ 129,413.92
amount here.
6j. Total. Add lines 6f through 6i. &j.
$ 570,014.92

 

 

 

ona rom ASE 21-11322-7 Doc Re Le Qahaewno tate RecRhae/21 09:17:53 Page 33 Of Soage 14 0 14
Fill in this information to identify your case:

Debtor 1 Joel Alan Gaffney

First Name Middle Name

Debtor 2
(Spouse, if filing)” Fist name

 

Middle Name fas ome

United States Bankruptcy Court far the: District of New Mexico

 

 

Case number (Check if this is
{if know) an amended
filing

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
(2) No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
CD Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 1OBA/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is

for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
execulory contracts and unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

cotticial Form BASE 21-11322-7 Doci1 Filed 12/02/21 Entered 12/02/21 09:17:53 Page 34 of 55 0

Schedule G: Executory Contracts and Unexpired Leases ge 1 of 1
 

Fill in this information to identify your case:

 

 

Debtor: Jae! Alan Gaffney

First Name Mitdla Namo rit Nama
Debtor 2
(Spouse, if tiling) Frans coe: ena (asi Nama

United States Bankruptcy Court for the: District of New Mexico

 

Case number (check if this is
(ii know) an amended
filing

 

Official Form 106H
Schedule H: Your Codebtors 12/15

Cadebtors are people or entities who are alse liable for any debts you may have, Be as complete and accurate as possible. It two married
people are filing together, both are equally responsible for supplying correct information. if more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

 

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
{J No
(J Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
Califomia, \daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

(DD No. Go to line 3.
Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

[2] No

Oo Yes. In which community state of territory ded you live? -Fillin the name and current address of that person,

3. In Column 4, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in
line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedufe E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

out Column 2.
Column 1: Your codebtor Column 2: The creditor ta whom you owe the debt
Check alt schedules that apply:
3.4 | Edward S Gafiney (C0 Schedule D, line
Name (¥] Schedule E/F, line 4.20
2105 Madeira Dr NE oO Schedule G, line
Street
Albuguergue NM 87110
City State ZIP Code
3.2| Gafiney Law, PC (-) Schedule D, line
Name Schedule E/F, line 4.16
PO Box 3460 (©) Schedule 6, tine
Street
Albuquerque NM 87190
City State ZIP. Code
3.3] Gaffney Law, PC C Schedule D, line
Bere (4] Schedule E/F, line 4.10
PO Box 3460 (CO Schedule G, line
Street
Albuquerque NM 87190
City Stare ZIP Code

Case 21-11322-7 Doci1 Filed 12/02/21 Entered 12/02/21 09:17:53 Page 35 of 55

Official Form 106H Schedule H: Your Codebtors page 1 of 1
Fill in this information to identify your case:

 

Joal Alan Gaffney

 

 

Debtor 1 tes

First Name Middte Hame LastName
Debtor 2
(Spouse, it fing) First Name Middle Name Lan Neme

United States Bankruptcy Court for the _ District of New Mexico

Case number Check if this is:
{If known)
An amended filing

A supplement showing postpetition chapter 13
income as of the following date:

Official Form 1061 Wu DDT yyy
Schedule |: Your Income 425

Be as complete and accurate as possible. if two married people are filing together (Debtor 1 and Debtor 2), both are equaily responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse,
If you are separated and your spouse is not filing with you, do not include infomation about your spouse. If more space is needed, attach a
separate sheet to this fonn. On the top of any additional pages, write your name and case number {if known). Answer every question.

Describe Employment

1 Fill in your employment
information. aaa Debtor 1 Debtor 2 cr non-filing spouse

 

 

 

 

If you have more than one job,

attach a separate page with
ae Se Employment status Ci Employed lemptoyed

employers. [7 Jot employed [_]not employed

Include part-time, seasonal, or
self-employed work.

 

Occupation may include student Occupation

or homemaker, if # applies.
Emptoyer’s name

 

Employer's address

 

 

 

 

Number Street Number Street
Cily State ZiP Code City State ZIP Cade
How long employed there?

 

Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
Spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, atlach a separate sheet to this form

For Debtor 1 For Debtor 2 or
non-filing spouse

 

2. List monthly gross wages, salary, and commissions (before all payroll

 

deductions), !f not paid monthly, calculate what the monthly wage would be 2. $ 0.00 $
3. Estimate and fist monthly overtime pay. 3. +§ 0.00 +5
4, Calculate gross income. Add line 2 + line 3. 4.1 $ 0.00 3

 

 

 

 

 

Official FSRARB!21-11322-7 Doc1 Filed £aiQelelvouriniesed 12/02/21 09:17:53 Page 36 Of 55ce 4
Debtor 4 Joel Alan Gaffney Case number tt trown

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

First Name Midde Name Last Name
For Debtor 1 For Debtor 2 or
ron-filing spouse
Copy Vine 4 ere coos ccccccccscsesecscseseeeesecssesscessscsssusequssonsessessvssvenguesseeeeeees a4 3s 9.00 $
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions Sa, §$ 0.00 3.
Sb. Mandatory contributions for retirement plans Sb. §$ 0.00 $
Sc. Voluntary contributions for retirement plans Sc. § 0.00 $s
Sd. Required repayments of retirement fund loans Sd. $ 0.00 5
Se. Insurance Se. §. 0.00 $
Sf. Domestic support obligations Sf. $ 0.00 $
59. Union dues 5g, $ 0.00 $
Sh. Other deductions. Specify: 5h. +5 0.00 +5
$ $
$ $
$ $
6. Add the payroll deductions. Add lines Sa +5b+5c+S5d+5e+5f+5g+5h. 6. § 0.00 $
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7% = 6§ 0.00 3,
a. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a staternent for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total $ 0.00 $
monthly net income. 8a,
8b. interest and dividends 8b. § 0.00 5
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce $ 0.00 $
settlement, and property settlement. Bc.
€d. Unemployment compensation ad. $_1,265.33 $
Be. Social Security Be. § 0.00 $
6f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies. 0.00
Specity: a) : §
8g. Pension or retirement income 8g. $§ 0.00 $
8h. Other monthly income. Specify: 8h. +5 0.00 +5
9. Add all other income. Add lines 8a + 8b + Gc + Bd + Be + Bf +8g + Sh. 9. | 5 1,265.33 $
10. Calculate monthly income. Add line 7 + line 9. i 4.265.339
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $_1,265.33 bl $ = pa

 

 

 

 

 

 

11. State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

 

 

 

 

Specify: w+ s__ 0.00
12 Add the amount in the iast column of line 10 to the amount in line 11. The result fs the combined monthly income. 1265.33
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical information, if it applies 12, ea
Combined

monthly income
13, Do you expect an increase or decrease within the year after you file this form?
Q No. | just started a commission-based insurance sales position that | expect will pay me more than my current
[V7] ves. Explain: $0/month income, but | do not anticipate that position providing sufficient funds to make significant debt
payments anytime soon.

Oficial @ABGOR1-11322-7 Doc1 Filed 4eMORMelvoleMtared 12/02/21 09:17:53 Page 37 Of 55ce2
Fill in this information to identify your case:

 

doel Alan Gaffney

 

 

Debtor 1 aarWans Ma iiueiiovan Check if this is:
Debtor 2 i
Oetket oy HT — SNe Clan amended filing

A supplement showing postpetition chapter 13

. District of New Mexico ,
United States Bankruptcy Court far the expenses as of the followin g date:

(Stale)
Case number

(it known) MM / DO? YYY¥

 

 

 

Official Form 106J
Schedule J: Your Expenses 4246

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supptying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 

Part 1: Describe Your Household

 

1. Is this a joint case?

Wyo. Ge to line 2.
C) Yes. Ooes Debtor 2 tive ina separate household?

Co

[_Nes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

 

 

 

 

 

 

2 Do you have dependents? W]no
Dependent’s relationship to Oependent's Does dependent live
Bo not list Debtor 1 and CQ Yes. Fill out this information for Debter 4 or Debtor 2 age with you?
Debtor 2. each dependent... os ry
Do not state the dependents’ eV
names. Yes
[no
[_ Wes
Yes
No
Yes
a
F Wes
3, Oo your expenses include [Ino

expenses of people other than
yourself and your dependents? 1 Yes

itleie Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash goverment assistance if you know the value of

such assistance and have included it on Schedule i: Your income (Official Form 1061.} Your expenses

4 The rentat or home ownership expenses for your residence. Include first mortgage payments and 0.00
any rent for the ground or lot. 4. 5.
If not included in line 4;

0.00

4a ‘Real estate taxes 4a $
4b. Property, homeowner's, or renter's insurance 4b $ 20.17
4c. Home maintenance, repair, and upkeep expenses 4 $ 0.00
4a. Homeowner's association or condominium dues 4d § 0.00

Official FOSRGWOH1-11322-7 Doc1 Fil€ebettavoto year Experaesred 12/02/21 09:17:53 Page 38 of 5&se 1
Dettor 1 —— — — Case number t# imown)
5. Additional mortgage payments for your residence, such as home equity loans 5.
6 Utilities:
6a. Electricity, heat, natural gas 6a
6b. Water, sewer, garbage collection 6b
6c Telephone, cell phone, Intemet, satellite, and cable services 6c
6d. Other. Specify: Gd.
7, Food and housekeeping suppties 7
8 Childcare and children’s education costs a
9 Clothing, laundry, and dry cleaning 9
10 Personal care products and services 10
11. Medical and dental expenses Ww
12. Transportation. Include gas, maintenance, bus or train fare
Do not include car payments. 12
13 Entertainment, clubs, recreation, newspapers, magazines, and books 13
14 Charitable contributions and religious donations 14
15. Insurance,
Do not include insurance deducted from your pay or Included in lines 4 or 20.
16a Life insurance 1$a
16b, Health insurance 15b.
16c. Vehicle insurance 18c
154, Other insurance. Specify: 15d
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify: 16
17 Installment or lease payments:
17a Car payments for Vehicle 1 Va
17b. Car payments for Vehicle 2 17b
t7e. Other. Specify: ic
17d. Other. Specify: 17d
18, Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line §, Schedule J, Your income (Official Form 106)). 18
19 Other payments you make to support others who do not live with you.
Specify: 19
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
20a. Morigages on other property 20a.
20b. Real estate taxes 20b.
20c. Property, homeowner's, or renter's insurance 20c
20d Maintenance, repair, and upkeep expenses 20d.
20e Homeowner's association or condominium dues 20e

Joel Alan Gaffney

 

 

 

 

 

 

 

 

Your expenses

 

$00

$190.85
$00
$ 280.00
S000
$___ 250.00
5, 0.00
$ 25.00
$30.00
$00

$00

40.00
0.00

30.00

—__9.00_
$__._.__ 0,00
$___ 9.00

$ 0.00

$__ 00

$0.00

$ 0.00
0.00

; 0.00

; 0.00

$C.
$__ 00
§ 0.00

$00
$0

Official FoREWH1-11322-7 Doc1 Fil€ehetoozyour Expepaesred 12/02/21 09:17:53 Page 39 of Fese2
Joel Alan Gaffney

Firs Name Middle Name ‘Last Name

Debtor 1

 

H. Other, Specify:

Case number (# sown),

 

 

22. Calculate your monthly expenses.
22a. Add lines 4 through 27.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c, Add line 22a

and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.
23a, Copy line 12 (your combined monthly inceme) from Schedule |.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly nat income.

24, Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
morigage payment to increase or decrease because of a modification to the terms of your mortgage?

iV] No.

Q) Yes. —_ Explain here:

21

23a.

23b.

23.

 

 

+ 0.00
+3
+3
: 866.02
$
; 866.02. |
§ 4,265.33
a 866.02
; 399.31

 

Official FORR 2987 11322-7 Doc Fil&éfetoe your Expengesed 12/02/21 09:17:53 Page 40 of 58ue3

 
Fill in this information to identify your case;

Dettor1 Joel Alan Gaffney

Firt Name Middle Name Last Name

Debtor 2
(Spouse, if fling) First Name Middle Name Last Name

 

United States Bankruptcy Court for the District of New Mexico

Case number
(it known)

 

 

C) Check if this is an
amended filing

 

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 4216

 

 

If two married people are filing together, both are equally responsible for supplying correct information.

You must fife this form whenever you file bankruptcy schedules or amended schedules. Making a false staternent, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $260,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 162, 1341, 1619, and 3571.

|| Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

No
C) Yes. Name of person. Attach Banknupicy Petition Preparer's Notice, Declaration, and
Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

Qty.

 

 

Signature of Debtor 1 Signature of Debtor 2
pate 12/01/2021 Date
MMi OD f YYYY MM? OD / YYY¥Y
Official Form 106Dec Declaration About an Individual Debtor's Schedules
Case 21-11322-7 Doci1 Filed 12/02/21 Entered 12/02/21 09:17:53 Page 41 of 55
SUT armel ele Re com Ce Cuh ae cel Lae en Coos

Joe! Alan Gafiney
First Home:

Debtor 1

Debtor 2
(Spouse, if filing) First same

 

Middle Name (ast Name

Unaed States Bankruptcy Court for the: District af New Mexico

 

 

 

oe Ocheck if this is
an amended
filing

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy aig

ee EEE
Ge as complete and accurate as possible, If two married peopie are fillng together, both are equally responsible for supplying correct Information. f more space is needed, attach
a separate sheet to this form, Gn the top of any additional pages, write your name and case number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

 

1. What is your current marital status?
C Married
Not married
2. During the fast 3 years, have you lived anywhere other than where you live now?

a)

Yes. List afl of the places you lived In the last 3 years. Do not include where you live now.

 

Debtor 1: Dates Debtor 1 Debtor 2: Dates Debtor 2
lived there lived there
( Same as Debtor 1 (CD Same as Debtor 1
1344 Vassar Dr NE oe From —___
To 10/2020 To
Number Street — Number Street

 

 

Albuquerque NM 87106
City Stale = ZIP Code

 

City State ZIP Code

3, Within the last @ years, did you ever live with a spouse or iegal equivalent in a community property state or territory? (Community
property states and territories include Arizona, California, Idaho, Loulsiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and
Wisconsin.)

(2) Na

CO Yes. Make sure you fill aut Schedule H: Your Codebtors (Official Form 106H)

Explain the Sources of Your Income

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
Hf you are filing a joint case and you have incame thal you receive together, list it only once under Debtor 1.

(CJ No
Yes. Fill in the details.

Debtor 1

Sources of income Gross income

Check all that apply (befete déduétiins
and exclusions)
From January 1 of current year until the date
you filed for bankruptey: Wi ons $ aoe
‘ f
bonuses, dips
(] Operating a business

Case 21-11322-7 Doci1 Filed 12/02/21 Entered 12/02/21 09:17:53 Page 42 of 55

Statement of Financial Affairs for individuals Filing for Bankruptcy

Gtlictat Form 107

Debtor 2

Sources of income Gross income

CHECK ait thal dfpty © (HE(GFB HBeEHGHE
ard EXGILsIGtis)
Ci wases. $_—__
bonuses. tips
© Operating a business

page 1 of 8
Debtor el Alan Galiney

rst Name

For last calendar year:

Mii Nar

(January 1 to December 31, 2020

For the calendar year before that:

(January 1 to December 31, 2019

Wages, $ 0.00
* commissions,
bonuses, tips

Operating a business

(2) Wages,
* commissions,
bonuses, tips

Qperating a business

5. Did you receive any other Income during this year or the two previous calendar years?
include income regardiess of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties;
and gambling and iottery winnings. H you are filing a joint case and you have income that you received together, list { only once under

Debtor 1.

$ 24,979.00

Case number(if known)

DC wages,
commissions,
bonuses, tips

CO Operating a business

OC Wages,
“  cammissions,
bonuses, tips

C Operating a business

List each source and the gross income from each source separately. Do not include tncome that you listed In line 4.

No
(I Yes. Fill in the details.

From January 1 of
current year until the
date you filed for
bankruptcy:

For last calendar year:

(January 1 to December
31, 2020

For the calendar year
before that:

Qanuary 1 to December
31, 2019

Debtor 1

Sources of income
Describe below.

Unemployment

Unemployment

Interest Eamed on
Shareholder Loan to
Gaffney Law, PC - This

went unpaid

Gross income from each
source

(before deductions and
exclusions)

$25,790.00

$ 26,935.00

$ 4,889.00

List Certain Payments You Made Before You Filed for Bankruptcy

Debtor 2

Sources of income
Describe below.

Gross income from each
source

(before deductions and
exclusions}

$0.00

 

6. Are either Debtor 1's or Debtor 2’s debts primarily consumer debts?

(No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an indivicual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a totat of $6,825* or more?

(No. Go te line 7.

Q ‘Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and
the total amount you paid that creditor. Do not include payments for domestic support obligations, such
as child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject ta adjustment on 4/01/22 and every 3 years after that for cases filed on or alter the date of adjustment,

() Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, dict you pay any creditor a total of $600 or more?

OC No. Go to line 7.

Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Dates of payment

Total amount pald

Amount you still
owe

Was this payment
for...

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Official Form 107

Statement of Financial Aftalrs for individuals Filing for Bankruptcy

page 2 of 8
Debtor Joel Alan Gafiney
Fest Mare

Miche Natne

Renee Mehring
Creduar’s Name

lant Nar

9/29/2021

12240 Phoenix Avenue

Number Street
Northeast

Albuquerque NM__ 87112

city

Charles McKinney

Creditor's Name

State ZIP Code

10/28/2021

2812 Espanola St'NE

Number Street

Albuquerque NM__87110

ci

Melissa Brownell
Creditor's Name

20 Cerro Alto Road
Number Street

State ZIP Code

09/29/2021

Lamy NM 87540

City

State ZIP Code

$ 1,500.00

$ 1,500.00

$ 7,000.00

w"
fe

iz

rE

Case numbes(if known)

Cl) Mortgage

( Car

(CO Credit card

C Loan repayment
(C2 Suppliers or
vendors

Other

Uneamed legal fees

C Mortgage

1 Car

Cl Credit card

C0 Loan repayment
CJ Suppliers or
vendors

Other

Unearned legal fees

(C Mortgage

OJ Car

CO Credit card

C Loan repayment
© Suppliers or
vendors

Other

Uneamed legal fees

7. Within 1 year before you fited for bankruptcy, did you make a payment on a debt you owed anyone who was an insider? insiders
include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% ar mare of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 211 U.S.C. § 101. Include payments for domestic support obligations,

such as child support and alimony.
No.

C Yes. List all payments to an insider.

8. Within 2 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an

insider?

Include payments on debis guaranteed or cosigned by an insider.

CJ Na.

Yes. List all payments that benefited an insider.

Edward S Gaffney

Creditor's Name
2105 Madeira Dr NE
Number Street

Albuquerque NM__87110

City State ZIP Code

Dates of payment

Tota! amount paid

$ 1,650.60

Identify Legal Actions, Repossessions, and Foreclosures

Amount you still
owe

$ 11,180.14

Reason for this payment
Include creditor's name

Payment to Sallie Mae on bar
study loan. Sallie Mae takes
the position that this is a
nondischargeable student
loan under 523{a}({8).

 

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,

and contract disputes.

CNo
(=) Yes. Fill in the details.

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Statement of Financial Affairs tor individuals Fiting for Bankruptcy

Official Form 107

page 3 of &
 

 

Joel Alan Gatlin ‘
Debtor oe ey = == Case number(if known)
Nature of the case Court or agency Status of the
case
Case title: z Collection: Pending
Discover Bank v. Joel Galfney Credit Card Collection; Dat@ ——Beratitio County Metropolitan Court C On appea!
Case number filed: 02/22/2021 ana
T-4-CV-2021-001972 O Concluded

401 Lomas Blvd NW
Number Street
Albuguerque NM 87107

 

 

 

 

 

Cay State ZIP Code
Case title: Matter ol Gafing Attorney Discipline; Date filed: &] Pending
Case number: S-1-SC-39067 11/04/2021 ‘ ' New Mexico Supreme Court C On appeal
Court Name oO Conctuded
237 Don Gaspar Avenue, Room 104
Number Street
Santa Fe NM 87502
Ciy State ZIP Code
Case title: Matter of Gafine Administrative Suspension of CJ Pending
Case number: S-1-SC-38619 Attorney: Date filed: New Mer’co Supreme Court CJ On appeal
12/23/2020 Concluded

237 Don Gaspar Avenue, Raom 104
Number Street

SantaFe NM 87501
Cy State ZIP Code

10.Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, gamished, attached, seized, or levied?
Check all that apply and fill in the delails below.

Na. Go to line 11.
() Yes. Fill in the information below.

1LWithin 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts
from your accounts or refuse to make a payment because you owed a debt?

(¥] No
C) Yes. Fill in the details

12.Within 2 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

No
( Yes

List Certain Gifts and Contributions

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
(-] Na
Q) Yes. Fill in the details for each gift.
14Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

No
(CO Yes. Fill in the details for each gift or contribution,

List Certain Losses

15.Within L year before you filed for bankruptcy or since you fited for bankruptcy, did you lose anything because of theft, fire, other disaster, or
gambling?

No
C) Yes. Fill in the details.

List Certain Payments or Transfers

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Officlal Form 107 Statement of Financial Affairs for individuals Filing for Bankruptey page 4 of 4
Joe] Alan Galin ‘
Debtor ao ey Case number(if known)

Maidte Name (oat Name

16.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

(4) No

C Yes. Fill in the details.

17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone who promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you fisted on line 16.

{¥] No

(0 Yes. Fill in the details.

16.Within 2 years before you fited for bankruptcy, did you sell, trade, or otherwise tcansfer any property to anyone, other than
property transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as Security (such as the granting of a security interest or mortgage on your property).
Co not include gifts and transfers that you have already listed on this statement.

CJ No

Yes. Fill in the details.

 

Description and value of Describe any property or payments Date transfer
property transferred received or debts paid in exchange was made
06/30/2021
2011 Honda Fit Sport, 8202.06 ——'—
Carvana $8,202.06
Person Who Received Transfer . .
1930 W Rio Salado Pkwy

 

Number Street

Tempe AZ 85281
City State ZIP Code

Person's relationship to you None

19.Within 10 years before you filed for bankruptey, did you transfer any property to a sell-settled trust or similar device of which
you are a beneficiary?(These ave often called asset-pratection devices.)

No
(OD Yes. Fillin the details.

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 

20.Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

(Ci No

(] Yes. Filf in the details,

Last 4 digits of account Type of account or Date account was Last balance before
number instrument closed, sold, moved, closing of transfer
or transfersed
Vanguard () Checking
Name of Financial Instiutan XXXX- —____ ___ _. (2 Savings 09/01/2021 $ 24,150.00
P.O. Box 982903 (> Money market
Number Street ao Brokerage
ElPasoTX 79998-2903 ag
Ciy ‘State ZIP Code Other
401k through former
employer

2LDo you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

(4) No
( Yes. Fill in the details,

Case 21-11322-7 Doci1 Filed 12/02/21 Entered 12/02/21 09:17:53 Page 46 of 55

Officiat Form 107 Statement of Financlal Affairs for Individuals Filing for Bankruptcy page 5 of &
Debtor 7 Alan Gaftney Case number{if known)

J
Fest Name Miodie Maurer (ant Nase
22.Have you stored property in a storage unit or place other than your home within 1 year before you fited for bankruptcy

Na
(J Yes. Fill in the details,

Identify Property You Hold or Contro! for Someone Else

23.Do you hold or contro] any property that someone else owns? Include any property you borrowed from, are Storing for,
or hold in trust for someone.

(No
{-) Yes. Fill in the details.

 

 

 

Where is the property? Describe the property Value
Gatiney Law, PC
— Law firm operating account $ 62.07
4200 Montgomery Blvd, Apt 208 2200 Louisiana Blvd NE Ste E08
Number Street Number Street
Albuquerque NM 87109 Albuquerque NM __ 87110
City State ZIP Code City State ZIP Code

Give Details About Environmental information

For the purpose of Part 10, the following definitions apply:

" Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous of toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or requtations controlling the cleanup of these substances, wastes, or material,

= Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
it or used to own, operate, or utilize it, including disposal sites.

= Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report alt notices, releases, and proceedings that you know about, regardless of when they occurred.
24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?
No
CO Yes. Fillin the details.
25.Have you notified any governmental unit of any release of hazardous material?
No
CO Yes. Fill in the details,

26.Have you been a party in any judicial or administrative proceeding under any environmental taw? Include settlements and orders.

(4] No
CQ Yes. Fill in the details.

Give Details About Your Business or Connections to Any Business

27.Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
A sole proprietor or self-emptoyed in a trade, profession, or ather activity, either full-time or part-time
(QA member of a limited liability company (LLC) or limited liability partnership (LLP)
{0 A partner in a partnership
An officer, director, or managing executive of a corporation
(© An owner of at least 5% of the voting or equily securities of a corporation

(CJ No. None of the above applies. Go to Part 12.
) Yes. Check all that apply above and fill in the details below for each business.

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Ofticlal Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6 of 8
Joel Alan Galiney
Fr Name

 

 

 

 

 

 

 

 

 

 

Case number(if known)

 

 

Migdic Niashe: Lew Narn
Describe the nature of the business Employer Identification number
Joel Gafiney Travel Agent Do not inctude Social Security number or
Business Name Travel Age Not yet active rriN.
4200 Montgomery Blvd NE a eel
Number Street EIN: — er
Apt 208 Name of accountant or bookkeeper Dates business existed
Albuquerque NM 87109 Bee] From 10/35/2021 To Current
Ohty State ZIP Code
Describe the nature of the business Emptoyer identification numbes
Joe! Gafiney Do not include Social Security number or
Sisiness Name Life and Accident Insurance Sales TN.
4200 Montgomery Blvd Ne
Number Street EIN; ee
Apt 208 Name of accountant or bookkeeper Dates business existed
Albuquerque NM 87109 Joel Gaffney From 11/18/2021 To Current
City Sue ZIP Code
Describe the nature of the business Employer dentification number
Gatiney Law, PC Do not include Social Security number or
Business Name Legal Services Professional Corporation THIN.
6565 America's Parkway #200 ae 7
Number Street FIN; 8 3 -3'7153 6 393 4)
Albuquerque NM 87110 Name of accountant or bookkeeper Dates business existed
Cry State ZIP Code

Joel Alan Gatiney From 04/01/2019 To 03/26/2021

28.Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

No. None of the above applies. Go to Part 12.
OC) Yes. Check all that apply above and fill in the details below for each business.

Ottklad Form FASE 21-11322-7 Doc darembrll F Fudel 2/2. Entered 12/02/21 09:17:53 Page 48 of 55 age tote

ncial Affairs for Individuals Filing for Bankruptcy
Joel Alan Gafiney Case number(if known)

rst Nahe Muocle Name Last Name

Debtor

have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or Property by fraud
in connection with a bankruptcy case can regli{t in fines up to $250,000, or imprisonment for up to 20 years, or both.

Lite
Y

ois not an attorney to help you fill out bankruptcy forms?

         
  

   

  
 

x

 

Signature of Debtor 2

Date

  

Date 12/01/2021

 

Did you pay or agree to pay someone
[4] No

(J Yes. Name of person Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

Ofticial Form ¥eaS€ 21-11322-7 Doc darombnl!S Prabead Realerde naif EGe Gea! 2/02/21 09:17:53 Page 49 of DS aage Bofa
Fill in this information to identify your case:

Debtor 41 Joel Alan Gaffney

First Mame Miaale Nene

Debtor 2

 

(Spousa, if fiting) iret Name Middle Name
United States Bankruptcy Court forthe: District of New Mexico

Case number
{I known)

 

Check one box only as directed in this form and in
Form 122A-1Supp:

W@ 1. There is no presumption of abuse.

) 2. The calculation to determine if a presumption of
abuse applies will be made under Chapter 7
Means Test Calculation (Official Form 122A-2).

Q) 3. The Means Test does not apply now because of
qualified military service but it could apply later.

 

 

Q Check #f this is an amended filing

Official Form 122A—1
Chapter 7 Statement of Your Current Monthly Income 04/20

Be as complete and accurate as possible. If two married people are fillng together, both are equally responsible for being accurate. lf more
space is needed, attach a separate sheet to this form. Include the line number to which the additional Information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b){2) (Official Form 122A-1Supp) with this form.

 

Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only,

WZ Not marsied. Fill out Column A, lines 2-11.
QO) Married and your spouse Is filing with you. Fill out both Columns A and B, lines 2-14,

() Married and your spause is NOT filing with you. You and your spouse are:
C1 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

Cf} Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B, By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankrupicy law that applies or that you and your
Spouse are living apart for reasons thal do nat include evading the Means Test requirements. 11 U.S.C. § 707(b)7)(B).

Fill in the average monthly Income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C, § 101(19A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6,
Fill in the result. Do not include any income amount more than once, For example, if both spouses own the same rental property, put the
income from that property In one column only. If you have nothing to report for any line, write $0 in the space.

Column A Column 8
Debtor 1 Debtor 2 or
non-fiting spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions 0.00 0.00

(before all payrol! deductions). $0.00. $2,
3. Ailmony and maintenance payments. Do not include payments from a spouse if 0.00 0.00

Column B is filled in. a $0.
4. All amounts from any source which are regularly paid for household expenses

of you or your dependents, including child support. Include regular contributions

from an unmarried partner, members of your household, your dependents, parents,

and roommates. Inctude regular contributions from a spouse only if Column B is not 0.00 0.00

filled in. Do not include payments you listed on line 3. $0.00 $0.00
5. Net income from operating 2 business, profession, Debtor 4 Debtor 2

Gross receipts (before all deductions) $0.00_ $0.00_

Ordinary and necessary operating expenses -30.00 -—s$0.00

Net monthly income from a business, profession,or = § 0.00 $0.00 roPY 5 8.00 $0.00

farm oe —_ a Se
6. Net Income from rental and other raal property Debtor 4 Debtor 2

Gross recelpts (before all deductions) $0.00. $0.00_

Ordinary and necessary operating expenses -$0.00 -3$0.00

Net monthly income from rental or other real property $ 50.00 reel ys 0.00 $0.00
7. Interest, dividends, and royalties $0.00 $0.00

Official FGrAGBC1-11322-7  D@fapter ristlieshene (Ovdie Eurrdal MGhAL Ineathye/21 09:17:53 Page 50 of 93,64
Debtor 4 Joel Alan Gaffney Case number (¢ sewn)

First Nene Middle Hamme Last Name
Column A Column 8
Debtor 1 Dabtor 2 or
non-filing spouse
8. Unemployment compensation g 1,951.17 g 0.00

10

17.

 

 

Do nat enter the amount if you conlend that the amount received was a benefit
under the Social Security Act. instead, list it here: ................

For younsisusicustihte eaten ata § 0.00
FOr YOUF SPOUSE ooo ecneecneeeneeennee ice — § 0.00

Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. Also, except as stated in the next sentence, do
not include any compensation, pension, pay, annuity, or‘allowance paid'by the United
States Government in connection with a disability, combat-related Injury or disability, or
death of a member of the uniformed services. If you received any retired pay pald
under chapter 61 of tile 10, then include that pay only to the extent that it dees not
exceed the amount of retired pay to which you would otherwise be entitled if retired
under any provision of title 10 other than chapter 61 of that tite.

Income from all other sources not listed above, Specify the source and amount. Do
not include any benefits received under the Social Security Act; payments made under
the Federal law relating to the national emergency declared by the President under the
National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
against humanity, or international or domestic terrorism; or compensation, pension,
pay, annuity, or allowance paid by the United States Government in connection with a
disability, combat-related injury or disability, or death of a member of the uniforces. if
necessary, list other sources on a separate page and put the total! below.

 

g 0.00 5 0.00

 

Total amounts from separate pages, if any.

Calculate your total current manthly income. Add lines 2 through 10 for each 1951.17 * 0.00
column. Then add the totat for Column A to the total for Column B. ee 5

| part 2: | Determine Whether the Means Test Applies to You

12.

13.

14,

Calculate your current monthly income for the year. Follow these steps:
42a, Copy your total current monthly income from fin] 440. cee eec oe eeeeccercccvns oostestioeecteey vosee, COpy Ine 14 hare

Multiply by 12 (the number of months in a year).

12b. The resull is your annual income for this part of the form. 12b,

Calculate the median family income that applies to you, Follow these steps:
Fill in the state in which you five. NM

Fill in the number of people in your household. 2

Fill in the median family Income for your state and size of household. sania i ie eet

To find a list of applicable median income amounts, go online using the tink specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

How do tha lines compare?

14a. 4 Line 4 2b is less than or equal to line 13. Gn the top of page 1, check box 1, There is no presumption of abuse.
Go ta Part 3. Do NOT fill out or file Official Form 1224-2.

g 0.00 ¢ 0.00

¢ 0.00 ¢ 0.00

+ 0.00 +5 0.00

 

=) 51,951.17

Total current
menthly Income

$1951.17

x 12
§ 23,414.04

 

 

 

$ 98,003.00

 

tap.) Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is datarmined by Form 1224-2.

Go to Part 3 and fill out Form 1224-2.

Official F@@B@AA1-11322-7  De@frapter FRandnd Peder burda GAA hedihZ/21 09:17:53 Page 51 of 53..5

 
Debtor 1 Joel Alan Gaffney Case number (# known)
Fir! Nome Middle Name ‘Lae! Name

te

By signing here, | declare under penalty of perjury that the information on this statement and in any altachments is true and correct.

 

 

% Pet Mor, Dedfpeaz x

“Signature of Debtor 1 VA Signature of Debtor 2
Date 12/01/2021 Date
MMI DD YY MMi OD Pyyryry

| If you checked line 14a, do NOT fill out or file Form_1224-2,
lf you checked line 14b, fill out Form 1224-2 and file Ht with this form.

Official FQQASBA2L-11322-7 DO@bafter Falaelndrit M22 curknnitenedy bale /21 09:17:53 Page 52 of Sfage 3
United States Bankruptcy Court
District of New Mexico

Joel Alan Gaffney

In re: Case No.

Chapter 7
Debtor(s)

Verification of Creditor Matrix

The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.

Date: 12/01/2021 Dat Mle Seffoue

Signature of Debtor”

 

Signature of Joint Debtor

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Amex
Po Box 297871
Fort Lauderdale, FL 33329

Bova Usa
15 20th StS FI9
Birmingham, AL 35233

Brandon D Flath
200 Skyline Dr
Edgewood, NM 87015

Brian Dale Van Winkle
702 White min
Ruidoso, NM 88355

Capital One Bank Usa N
15000 Capital One Dr
Richmond, VA 23238

Capitalone
Po Box 30253
Salt Lake City, UT 84130

Celine Marie Lewis
6120 Chayote Ad. NE
Rico Rancho, NM 87144

CPF Commission

2440 Louisiana Blvd. NE
Suite 280

Albuquerque, NM 87110

Discover Bank
PO Box 30943
Salt Lake City, UT 84130

Discover Fin Sves Lc
Po Box 15316
Wilmington, DE 19850

Edward S Gaffney
2105 Madeira Dr NE
Albuquerque, NM 87710

Fed Loan Serv
Po Box 60610
Harrisburg, PA 17106

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Frontline Asset Strategies
2700 Snelling Ave N.
Suite 250

Roseville, MN 55113

Guglistma & Associates
PO Box 41688
Tucson, AZ 65717

Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101-7346

Jpmeb Card
Po Box 15298
Wilmington, DE 19850

Julie Ann Delgado

1414 S. Union Ave
Apt D-11

Roswell, NM 88203

Linda Ghaffari
4716 Taylor Ridge Rd NW
Albuquerque, NM 87120

Lvav Funding Lie
Po Box 1269
Greenville, SC 29602

Merrick Bank Corp
Po Box 9201
Old Bethpage, NY 11804

MRS BPO
1930 Oiney Ave
Cherry Hill, NJ 08003

Nationwide Credit, Inc
PO Box 15130
Wilmington, DE 19850-5130

Nationwide Credit, Inc
PO Box 15310
Wilmington, DE 19850

New Mexico Disciplinary Board
2440 Louisiana Blvd. NE

Sie 280

Albuquerque, NM 87110

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New Mexico Taxation & Revenue Department
Bankruptcy Section

PO Box 8575

Albuquerque, NM 87198-8575

NM Depariment of Workforce Solutions
501 Mountain Rd NE
Albuquerque, NM 87102

Nm Mexico Educational
Po Box 27020
Albuquerque, NM 87125

PayPal Credit
PO Box 74202
Charlotte, NC 28272-1202

PNC Bank
PO Box 96066
Pittsburgh, PA 15226

Portfolio Recovery Associates LLC
PO Box 12914
Norfolk, VA 235441

Sallie Mae Bank Inc
Po Box 3229
Wilmington, DE 19804

Soli
2750 E Cottonwood Pkwy
Cottonwood Heights, UT 84121

Suntrust
600 W Broadway Ste 2000
San Diego, CA 92101

Synchrony Bank

Attn: Bankruptcy Dept.
P.O. Box 965061
Orlando, FL 32896

Timothy Kilguss

801 Locust Place NE
Apt 1251

Albuquerque, NM 87102

Tricore Reference Laboratories
PO Bex 27561
Albuquerque, NM 87125

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